                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                NO: 1:08-CR-55-2


UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
vs.                                           )               ORDER
                                              )
EDWARD WILLIAM WAHLER,                        )
                                              )
               Defendant.


        THIS MATTER IS BEFORE THE COURT upon the pro se Defendant Edward W.

Wahler’s two very similar motions, both entitled “Motion for Copy of PINS NLETS Database” filed

respectively on August 15, 2008 and October 17, 2008. (Document Nos. 42, 57). The Magistrate

Judge will deny the motions without prejudice for the following reasons:

        In both motions, the Defendant seeks a copy of any NCS PINS and NLETS “database” on

himself so he can “ascertain whether erroneous data was entered on Defendant before arrest, during

arrest, or subsequent to arrest and incarceration that may show prejudice to the man known as

Edward Wahler....”1 (Document No. 42, p.1; No. 57). In the second motion, he also seeks the

“names of the parties who entered said data and when.” (Document No. 57).

        Defendant does not explain how the requested information would be relevant to the criminal

charges against him or why he would be entitled to such information. The Court itself is not entirely

clear about what the Defendant is actually requesting. To the extent the Defendant may be seeking


        1
       Defendant indicates that “NCS PINS” is the acronym for North Carolina State Police
Information Network and that NLETS is the acronym for the National Law Enforcement
Telecommunication System.


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verification of his criminal history, the Court has already entered its Standard Criminal Discovery

Order (Document No. 15) providing that the prosecutor shall comply with Rule 16 and provide

criminal history information to Defendant. Specifically, the Court’s Order provides that: “Defense

counsel shall be allowed to inspect and photocopy (or be given photocopies), prior to trial, of the

information, reports or objects discoverable under Rule 16(a)(1)(A) through (G) of the Federal Rules

of Criminal Procedure.” (Document No. 5, p.1, ¶1).

       Rule 16(a)(1)(D) sets forth that “Upon a defendant’s request, the government must furnish

the defendant with a copy of the defendant’s prior criminal record that is within the government’s

possession, custody, or control if the attorney for the government knows – or through due diligence

could know – that the record exists.” Although the Defendant has not indicated whether he has

actually requested this information from the prosecution, the Court observes that this judicial district

generally follows an “open file” policy. In other words, this information may already be available

to Defendant upon request.

       IT IS, THEREFORE, ORDERED that Defendant Edward Wahler’s two motions, both

entitled “Motion for Copy of PINS NLETS Database”(Document Nos. 42, 57) are DENIED without

prejudice.

       IT IS SO ORDERED.



                                                   Signed: January 14, 2009




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